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                   Index of Exhibits to Fitzgerald Declaration
        In Support Of ViaSat’s Opposition to Acacia’s MSJ Re No Liability


    Exhibit   Page No.                           Description

       1.     1-44       Deposition Exhibit 501: License Agreement at issue in this
                         action

       2.     45         July 22, 2015 letter from Erik S. Bliss to Bhupen Shah

       3.     46         August 13, 2015 letter from Janene Asgeirsson to Erik S.
                         Bliss

       4.     47-48      November 24, 2015 letter from Janene Asgeirsson to Erik
                         S. Bliss

       5.     49-63      Excerpts from the deposition transcript of Gary Martin,
                         Ph.D. (30(b)(6) designee of Acacia) [Lodged Under Seal]

       6.     64-74      Excerpts from the deposition transcript of Pierre Humblet,
                         Ph.D. [Lodged Under Seal]

       7.     75-86      Excerpts from the deposition transcript of Peter Monsen
                         [Lodged Under Seal]

       8.     87-113     Excerpts from the deposition transcript of Christian
                         Rasmussen, Ph.D. [Lodged Under Seal]

       9.     114-126    Excerpts from the deposition transcript of Benny
                         Mikkelsen, Ph.D. [Lodged Under Seal]

       10.    127-132    Excerpts from the deposition transcript of Lawrence
                         Pellach [Lodged Under Seal]
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       11.   133-141    Excerpts from the deposition transcript of Bhupen Shah
                        (30(b)(6) designee of Acacia) [Lodged Under Seal]

       12.   142-145    Excerpts from the deposition transcript of Russell Fuerst,
                        Ph.D. [Lodged Under Seal]

       13.   146-155    Excerpts from the deposition transcript of Richard Koralek,
                        Ph.D. [Lodged Under Seal]

       14.   156-158    Excerpts from the deposition transcript of Alexander
                        Vardy, Ph.D. [Lodged Under Seal]

       15.   159-160    Excerpts from the deposition transcript of Krishna
                        Narayanan, Ph.D. [Lodged Under Seal]

       16.   161-177    Excerpts from the deposition transcript of Marwan
                        Hassoun, Ph.D. [Lodged Under Seal]

       17.   178-382    The opening expert report of ViaSat’s retained technical
                        expert Krishna Narayanan, Ph.D.

       18.   383-602    The opening expert report of Acacia’s retained technical
                        expert Alexander Vardy, Ph.D. [Lodged Under Seal]

       19.   603-775    The opening expert report of ViaSat’s retained source code
                        expert Dr. Marwan Hassoun [Lodged Under Seal]

       20.   776-851    The Expert Report of ViaSat’s retained expert Stephen
                        Prowse, Ph.D.

       21.   852-856    ViaSat’s Amended Trade Secret Identification, which we
                        served on Acacia’s counsel in this case [Lodged Under Seal]
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       22.   857-866    Acacia Communications, Inc.’s Supplemental Responses to
                        ViaSat, Inc.’s Requests for Admission (Set One) [Lodged
                        Under Seal]

       23.   867-925    Deposition Exhibit 212: A low level technical specification
                        for the Everest Encoder. ViaSat produced this specification
                        during discovery. [Lodged Under Seal]

       24.   926-949    Deposition Exhibit 236: A low level technical specification
                        for a product on which Acacia has not paid a royalty.
                        [Lodged Under Seal]

       25.   950-993    Deposition Exhibit 213: A low level technical specification
                        for a product on which Acacia has not paid a royalty.
                        Acacia produced this specification during discovery.
                        [Lodged Under Seal]

       26.   994        June 15, 2009 email between Christian Rasmussen, Russell
                        Fuerst, and Benny Mikkelsen, which Acacia designated as
                        Highly Confidential – Attorneys’ Eyes Only. [Lodged
                        Under Seal]

       27.   995-1003   June 12, 2009 email between Russell Fuerst and Christian
                        Rasmussen, along with an attachment, which Acacia
                        designated as Highly Confidential – Attorneys’ Eyes Only.
                        [Lodged Under Seal]

       28.   1004-1024 Deposition Exhibit 209: March 17, 2010 PowerPoint
                       Presentation, which Acacia designated as Highly
                       Confidential – Attorneys’ Eyes Only. [Lodged Under Seal]

       29.   1025-1026 February 25, 2013 letter from Ted Gammell to Bhupen
                       Shah, which Acacia designated as Highly Confidential –
                       Attorneys’ Eyes Only. [Lodged Under Seal]
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       30.   1027-1028 Deposition Exhibit 500: March 18, 2013 letter from
                       Bhupen Shah to Ted Gammell, which Acacia designated as
                       Highly Confidential – Attorneys’ Eyes Only. [Lodged
                       Under Seal]

       31.   1029-1030 Deposition Exhibit 505: March 13, 2013 email between Raj
                       Shanmugaraj, Benny Mikkelsen, Christian Rasmussen, and
                       Bhupen Shah, which Acacia designated as Highly
                       Confidential – Attorneys’ Eyes Only. [Lodged Under Seal]

       32.   1031-1033 An update to the encoder and decoder specification for the
                       Meru product, which Acacia designated as Highly
                       Confidential – Attorneys’ Eyes Only. [Lodged Under Seal]

       33.   1034-1037 November 27, 2012 email between Christian Rasmussen
                       and Benny Mikkelsen, Bhupen Sha, John LoMedico,
                       Mehrdad Givechi, Raj Shanmugaraj, and Feng-hai Liu,
                       along with an attachment, which Acacia designated as
                       Highly Confidential – Attorneys’ Eyes only. [Lodged
                       Under Seal]

       34.   1038-1040 June 11, 2012 email between Gary Martin and Pierre
                       Humblet, which Acacia designated as Highly Confidential –
                       Attorneys’ Eyes Only. [Lodged Under Seal]

       35.   1041        Deposition Exhibit 128: October 24, 2012 email between
                         Jon Stahl, Larry Pellach, Kevin Hinchey, Gary Martin, and
                         Peter Monsen, which Acacia designated as Highly
                         Confidential – Attorneys’ Eyes Only. [Lodged Under Seal]

       36.   1042-1043 Deposition Exhibit 303: July 8, 2009 email between Benny
                       Mikkelsen, Bhupen Shah, Eric Swanson, Christian
                       Rasmussen, and Stan Reiss, which Acacia designated as
                       Highly Confidential – Attorneys’ Eyes Only. [Lodged
                       Under Seal]
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       37.   1044-1045 Deposition Exhibit 535: March 20, 2014 email between
                       Bhupen Shah, John LoMedico, Benny Mikkelsen, Feng-hai
                       Liu, and Christian Rasmussen, which Acacia designated as
                       Highly Confidential – Attorneys’ Eyes Only. [Lodged
                       Under Seal]

       38.   1046-1047 Deposition Exhibit 543: June 10, 2010 email between
                       Benny Mikkelsen, Eric Swanson, and Raj Shanmugaraj,
                       which Acacia designated as Highly Confidential –
                       Attorneys’ Eyes Only. [Lodged Under Seal]

       39.   1048-1049 Deposition Exhibit 549: November 27, 2012 email between
                       Raj Shanmugaraj, Benny Mikkelsen, Christian Rasmussen,
                       Bhupen Shah, and Mehrdad Givehchi, which Acacia
                       designated as Highly Confidential – Attorneys’ Eyes Only.
                       [Lodged Under Seal]
